Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 1 of 9




            EXHIBIT C
      Case 3:24-cv-04471-EMC            Document 190-3         Filed 03/12/25       Page 2 of 9




 1   LESLIE ROBIN AZCONA(SBN 164279)
     Leslie Robin Azcona, Attorney at Law
2    3478 Buskirk Avenue #261
     Pleasant Hill, CA 94523
3    925.596.0107 phone 925.969.9688 facsimile
     Lr_azcona@yahoo.com
4
     Attorney making Special Appearance for Respondent
5    CASIMIRO JOSE CANHA CAVACO DIAS

6


7                              SUPERIOR COURT,STATE OF CALIFORNIA

8                                    IN AND FOR ALAMEDA COUNTY

9


10   RULANABIL KHOURY CAVACO DIAS                           Case No. 24FL097850

11                  Petitioner,                             FURTHER BRIEF IN SUPPORT OF
                                                            RESPONDENT'S MOTION TO QUASH
12   vs.                                                     AND VACATE SERVICE OF SUMMONS

13   CASIMIRO JOSE CANHA CAVACO DIAS,
                                                            Date: 02/05/2025
14                  Respondent.                             Time: 9:00 am
                                                            Dept: 510
15


16           1.     The only issue is whether Respondent was personally served on November 4,2024,

17
     at 4:33 pm outside of Terra Firma, located at 30086 Mission Blvd Hayward, CA as stated on the
18
     Proof of Service filed in this case.
19
            2.       Attached for consideration is Mr. Dias' e mail notification regarding in-person visit
20

     for 4:00 pm sent at 2:18 pm on November 4,2024(Exhibit A); Mr. Dias's Uber receipt showing his
21

     arrival at 30086 Mission Blvd, Hayward at 4:34 pm on November 4,2024(Exhibit B); and the
22


23   Terra Firma Supervised Visitation Report dated November 4,2024.

24          3.       These exhibits show that Mr. Dias had less than 2 hours' notice for his first in-person
25
     visit, that he arrived at the visitation center after the time noted on the proof of service filed with the
26
     court, that he called the center to notify them of his eta, that he arrived at 4:35 pm stayed until the
27
     visit ended at 7:00 pm.
28

     D24FL097850
                                                                                           Page 1 of3
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 3 of 9
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 4 of 9
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 5 of 9
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 6 of 9
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 7 of 9
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 8 of 9
Case 3:24-cv-04471-EMC   Document 190-3   Filed 03/12/25   Page 9 of 9
